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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 BRICKLAYERS LOCAL #8 OF ILLINOIS
 AND EMPLOYERS PENSION PLAN,
 MATT BRAUN, JAMES BLANEY, JASON
 MORGAN, KEVIN KENNEDY, RICHARD
 SEYMORE, TOM MCGINNIS, BRIAN
 NEVERMAN, LESTER MASON, JIM
 MEEK, STEVEN MORTHOLE, EDGAR
 HUMM, BRAD BRAKER, BRICKLAYERS
 AND ALLIED CRAFTWORKERS
 INTERNATIONAL LOCAL UNION NO. 8
 OF ILLINOIS,

                       Plaintiffs,

 v.                                                 Case No. 3:21-CV-557-NJR

 MR. DAVID’S FLOORING
 INTERNATIONAL, LLC,

                       Defendant.

                        JUDGMENT IN A CIVIL ACTION
DECISION BY THE COURT.

       This matter having come before the Court, and the Court having rendered a decision,

       IT IS ORDERED AND ADJUDGED that, pursuant to the Motion to Dismiss dated

September 27, 2021 (Doc. 5), which the Court construed as a Notice of Voluntary Dismissal, this

action was DISMISSED without prejudice pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules

of Civil Procedure.

       DATED: September 27, 2021

                                                   MARGARET M. ROBERTIE,
                                                   Clerk of Court

                                                   By: s/ Deana Brinkley
                                                          Deputy Clerk


APPROVED:       _________________________
               NANCY J. ROSENSTENGEL
               Chief U.S. District Judge
